Case 8:21-bk-04744-MGW Doc1 Filed 09/16/21 Page 1 of 47

nth _ . FILED VIA MAIL
lank rid sep 16 2021

 

Case number (if known): pter you are filing under:
bom 7 Clerk, U Ss. Bankruptcy,
Chapter 11 5 Divisio n
a eee Tamp4 Check if this is an

amended filing

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 04/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debfor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information, If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

FEEEEID seer vorsen
|

' 4. Your full name

Write the name that is on your Ky (AA
government-issued picture j +

 

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

identification (for example, First First name

your driver's license or

passport). “Ay) L Middle name |
Bring your picture is |

identification to your meeting —Last name Last name
| with the trustee,

 

Suffix (Sr., Jr., tl, Il) Suffix (Sr., Jr., Hl, tl)

 

| 2. All other names you

 

 

 

 

 

 

| have used in the last 8 an caine Fuel a

| years

|

| Include your married or Middle name Middle name

maiden names.

| Last name Last name

|

} First name First name:

| Middle name Middle name
Last name Last name

 

ies.

3 Only the fast 4 digits of me 4 yy
| your Social Security SS 0: OO a

| number or federal OR OR |

Individual Taxpayer
Identification number 9x we Om -wmw-_
(ITIN) |

 

Official Form 101 Voluntarv Petition for Individuals Filina for Bankruotev pace 41
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Debtor 1

Last Name

Case number (i known)

 

 

 

4. Any business names
and Employer
identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

 

B4 ll Shamrock Me

Number

 

Venice FL ABIS

 

 

 

 

 

About Debtor  (SpomseOntyin-adeint Case):

 

3 “163 31D

if or 2 lives at a different address:

 

rk

 

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City City State ZIP Code

| yincota
County County
if your mailing address is different from the one If Debtor 2's mailing is different from
| above, fill it in here. Note that the court will send yours, fill it in here. Note th court will send |
| any notices to you at this mailing address. any notices to this mailing
1
|
| Number Street Number Street
|
| P.O. Box P.O. Box
| |
City State ZIP Code City State “vv
L |
| ; |
6. Why you are choosing Check one: Check |

this district to file for
| bankruptcy Over the last 180 days before filing this petition, (C) Over the let 180 days before filing this petition,
| | have lived in this district longer than in any | have lived ih.this district longer than in any
| other district. other district. |
| (J | have another reason. Explain. (0 | have another reason? ain.
| (See 28 U.S.C. § 1408.) (See 28 U.S.C. § 1408.) i
| |
|
| - |
| |
| |
|

Official Form 101 Voluntary Petition for Individuals Filina for Bankruntcy nace 2
Case 8:21-bk-04744-MGW Doc1 Filed 09/16/21 Page 3 of 47

Case number (i known,

Last Name

 

' About Debtor 4:

Oh not used any business names or EINs.

About Debtor 2 (Spouse Only in a Joint Case):

(CD | have not used any business names or EINs.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

and Employer
identification Numbers J iG,
(EIN) you have used in
the last 8 years name Business name
Include trade names and
doing business as names fusineas naman Business name
B2.0590M0
- —_ /
a ai me 7
5. Where you live if Debtor 2 lives at a address:
City ZIP Code City | State ZIP Code
County County
if your mailing different from the one if Debtor 2's is different from
above, fill it in here. that the court will send yours, fill it in here. that the court will send
any notices to you is mailing address. any notices to this : ing address.
Number Number Street
P.O. Box P.O. Box 7
6. Why you are choosing one: Check
district to for
as ~ (C2 ver the last 180 days before filing this petition, 2 Over the last 180 days before filing this petition,
| have lived in this district longer than in any 1 lived in this district longer than in any
other district. disirict.
| have another reason. Oh another reason. Explain.
(See 28 U.S.C. § 1408.) 28 U.S.C. § 1408.)
Lo
Official Form 101 Voluntary Petition for individuals Filina for Bankruntcy nana >
Case 8:21-bk-04744-MGW Doc1 Filed 09/16/21 Page 4 of 47

Name Last Mame

 

 

Cera the Court About Your Bankruptcy Case
7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
Bankruptcy Code you for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
are choosing to file }
under Chapter 7
Chapter 11
OQ) Chapter 12

C) Chapter 13

8. How you will pay the fee | will pay the entire fee when | file my petition. Please check with the clerk's office in your
local court for more details about how you may pay. Typically, if you are paying the fee
yourself, you may pay with cash, cashier's check, or money order. If your attorney is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

QO) I need to pay the fee in installments. If you choose this option, sign and attach the
Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

() | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). If you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

9. Have you filed for Hn
bankruptcy within the
pep Oi ves. istict When Case number
MM/ OD /YYYY
District When Case number
MM/ DD /YYYY
District When Case number
MM/ DD /YYYY
10. Are any bankruptcy No
cases pending or being
filed bya spouse whois 1 Yes. Debtor i acini
not filing this case with District When Case number, if known
you, or by a business MM/DD /YYYY
partner, or by an
affiliate?
Debtor Relationship to you
District When Case number, if known.
MM/OD/ YYYY
11. Do you rent your dh Go to line 12.
residence? Yes. Has your landlord obtained an eviction judgment against you?

CD No. Go to line 12.

CD Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
part of this bankruptcy petition.

Official Form 101 Voluntarv Petition for Individuals Filina for Bankruotev paae 3
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Debtor 1 Case number (if known)
lami Report About Any Businesses You Own as a Sole Proprietor
12. Are you a sole proprietor () No. Go to Part 4.

of any full- or part-time

business?

13.

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as
a corporation, partnership, or
LLC.

If you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

Are you filing under
Chapter 11 of the
Bankruptcy Code, and
are you a small business
debtor or a debtor as
defined by 11 U.S. C. §
1182(1)?

For a definition of smail
business debtor, see

11 U.S.C. § 101(51D).

Official Form 101

Oo A Mgt Wl dimgymant PLLC

of business, if aly

AS5.Scamiom Ia | Gude 2

Wn 12 we Aas

Check the appropriate box to describe your business:
(J Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
() Stockbroker (as defined in 11 U.S.C. § 101(53A))
QO Commodity Broker (as defined in 11 U.S.C. § 101(6))

lone of the above

 

if you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or

i any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

No. | am not filing under Chapter 11.
No. | am filing under Chapter 11, but | am NOT a small business debtor according to the definition in
the Bankruptcy Code.
Q Yes. | am filing under Chapter 11, | am a small business debtor according to the definition in the Bankruptcy
Code, and | do not choose to proceed under Subchapter V of Chapter 11.
OC) Yes. lam filing under Chapter 11, ! am a debtor according to the definition in § 1182(1) of the
Bankruptcy Code, and | choose to proceed under Subchapter V of Chapter 11.

Voluntarv Petition for Individuals Filina for Bankruptcy dace 4
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sae Hiren Ere Gaker ae

Ee Report About Any Businesses You Own as a Sole Proprietor

 

12. Are you a sole proprietor () No. Go to Part 4.

of full- or -time
srk = Vive. name

business? of business

A sole proprietorship is a
business you operate as an

; , bate
remem AGE? STaniami (ail Gute DOF?

semaeent = Nth fart EL LST

Check the appropriate box to describe your business:

QO) Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
() Stockbroker (as defined in 11 U.S.C. § 101(53A))

” in 11 U.S.C. § 101(6))

pl

 

 

 

 

 

: of the above
13. Are you filing under If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
Chapter 11 of the choosing to proceed under Subchapter V so that it can set appropriaie deadlines. If you indicate that you

Bankruptcy Code, and = 8 Small business debtor or you are choosing to proceed under Subchapter V, you must attach your
are you a small business most recent balance sheet, statement of operations, cash-flow statement, and federal income tax retum or
debtor or a debtor as ——< U.S.C. § 1116(1)B).

defined by 11 U.S. C. § 1 am not filing under Chapter 11.

4182(1)? I

For a definition of small OQ) No. ee A eee ee rE eae

11 USC. § 101510). (C2 Yes. | am filing under Chapter 11, | am a small business debtor according to the definition in the Bankruptcy

Code, and I do not choose to proceed under Subchapter V of Chapter 11.
(CJ Yes. | am filing under Chapter 11, | am a debtor according to the definition in § 1182(1) of the
Bankruptcy Code, and | choose to proceed under Subchapter V of Chapter 11.

Official Form 101 Voluntary Petition for Individuals Filina for Ranknintev nana 4
Case 8:21-bk-04744-MGW Doc1 Filed 09/16/21 Page 7 of 47

aw Mion u Laker aie

fae Report About Any Businesses You Own as a Sole Proprietor

 

12, Are you a sole proprietor () No. Go to Part 4.
of any full- or part-time

Amare 8 25 Mirketnlice LLC

individual, and is not a

meen 33S miami Ta | Syteaes

cpa tan atch \Yanice FL ZaRSS
City State ZIP Code

Check the appropriate box to describe your business:

() Health Care Business (as defined in 11 U.S.C. § 101(27A))
Q Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Q Stockbroker (as defined in 11 U.S.C. § 101(53A))

O Broker (as defined in 11 U.S.C. § 101(6))
ies
t

13. Are you filing under If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
Chapter 11 of the choosing to proceed under Subchapter V so that it can set appropriate deadlines. if you indicate that you
Bankruptcy Code, and are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
are you a small business most recent balance sheet, statement of operations, cash-flow statement, and federal income tax retum or

any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)B).

 

 

debtor or a debtor as

defined by 11 U.S. C. § No. ! am not filing under Chapter 11.

1182(1)?

Gt aia anait OQ No. | am fling under Chapter 11, but am NOT a small business debtor according tothe defnion in

11 USC. § 101(51D). C2 Yes. | am filing under Chapter 11, | am a small business debtor according to the definition in the Bankruptcy

Code, and | do not choose to proceed under Subchapter V of Chapter 11.
C2 Yes. | am filing under Chapter 11, | am a debtor according to the definition in § 1182(1) of the
Bankruptcy Code, and | choose to proceed under Subchapter V of Chapter 11.

Official Form 101 Voluntary Patition for Individuals Filinn finer Ranknontes nana 4
Case 8:21-bk-04744-MGW Doc1 Filed 09/16/21 Page 8 of 47

sar FWY Su Dake ann

First Name Middle Name es

lace Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

 

14. Do you own or have any

ro that poses or is
Sounte pose a threat Yes. What is the hazard?

 

of imminent and
identifiable hazard to

 

public health or safety?
Or do you own any

property that needs If immediate attention is needed, why is it needed?

 

immediate attention?
For example, do you own

 

perishable goods, or livestock
that must be fed, or a building

that needs urgent repairs?
Where is the property?

 

Number Street

 

 

City State ZIP Code

Official Form 101 Voluntarv Petition for Individuals Filina for Bankrunteyv pace 5
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ar Palen he Ba bec

FirstName 7 Middle Name Last Name

Part 5:

Case number (i known)

Explain Your Efforts to Receive a Briefing About Credit Counseling

 

45. Tell the court whether About Debtor 1:

you have received a
briefing about credit Yqu must check one:

counseling. \ jihad tomer esas
counseling agency within the 180 days before |

The law requires that you filed this bankruptcy petition, and I received a

receive a briefing about credit certificate of '
cumacng blr you leer tac a copy of te cereal and he pare
truthfully check one of the plan, if any, that you developed with the agency.

following choices. If you
cannot do so, you are not
eligible to file.

(0 | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

C) t received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

() I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment

you paid, al your creditors plan, if any. plan, if any.
can begin collection activities | certify that | asked for credit counseling C) | certify that | asked for credit counseling
again. services from an approved agency, but was services from an approved agency, but was

unable to obtain those services during the 7 unable to obtain those services during the 7

days after | made my request, and exigent days after | made my request, and exigent

circumstances merit a 30-day temporary waiver circumstances merit a 30-day temporary waiver
of the requirement. of the requirement.

To ask for a 30-day temporary waiver of the To ask for a 30-day temporary waiver of the

requirement, attach a separate sheet explaining requirement, attach a separate sheet explaining

what efforts you made to obtain the briefing, why what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances bankruptcy, and what exigent circumstances
required you to file this case. required you to file this case.

Your case may be dismissed if the court is Your case may be dismissed if the court is

dissatisfied with your reasons for not receiving dissatisfied with your reasons for not receiving a

briefing before you filed for bankruptcy. briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must If the court is satisfied with your reasons, you must

still receive a briefing within 30 days after you file. still receive a briefing within 30 days after you file.

You must file a certificate from the approved ‘You must file a certificate from the approved

agency, along with a copy of the payment plan you agency, along with a copy of the payment plan you

developed, if any. If you do not do so, your case developed, if any. If you do not do so, your case
may be dismissed. may be dismissed.

Any extension of the 30-day deadline is granted Any extension of the 30-day deadline is granted

only for cause and is limited to a maximum of 15 only for cause and is limited to a maximum of 15

days. days.

QO) 1 am not required to receive a briefing about (J | am not required to receive a briefing about
credit counseling because of: credit counseling because of:

Q Incapacity. | have a mental illness or a mental Q incapacity. | have a mental illness or a mental
deficiency that makes me deficiency that makes me
incapable of realizing or making incapable of realizing or making
rational decisions about finances. rational decisions about finances.

Q) Disability. My physical disability causes me O Disability. My physical disability causes me
to be unable to participate in a to be unable to participate in a
briefing in person, by phone, or briefing in person, by phone, or
through the internet, even after | through the internet, even after |
reasonably tried to do so. reasonably tried to do so.

OQ) Active duty. | am currently on active military UO) Active duty. | am currently on active military
duty in a military combat zone. duty in a military combat zone.

If you believe you are not required to receive a If you believe you are not required to receive a

briefing about credit counseling, you must file a briefing about credit counseling, you must file a

motion for waiver of credit counseling with the court. motion for waiver of credit counseling with the court.

Official Form 101 Voluntarv Petition for Individuals Filina for Bankruotcy pace 6
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davon Cre Okan

First Name ¥ Middle Name Last Name

igi Answer These Questions for Reporting Purposes

Case number (if known},

 

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

No. Go to line 16b.
es. Go to line 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
Y for a business or investment or through the operation of the business or investment.

re Go to line 16c.

Yes. Go to line 17

16c. State the type of debts you owe that are not consumer debts or business debts.

 

 

17. Are you filing under
Chapter 7?

(CI No. 1am not filing under Chapter 7. Go to line 18.

 

 

Do you estimate that after Yes. | am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
any exempt property is inistrative expenses are paid that funds will be available to distribute to unsecured creditors?
excluded and No
administrative expenses
are paid that funds will be Q) Yes
available for distribution
to unsecured creditors?
18. How many creditors do ‘ehi-49 C) 1,000-5,000 C) 25,001-50,000
you estimate that you LJ 50-99 () 5,001-10,000 (J 50,001-100,000
owe? Q 100-199 QD 10,001-25,000 O) More than 100,000
C) 200-999
19. How much do you QC) $0-$50,000 (2 $1,000,001-$10 million CJ $500,000,001-$1 billion
estimate your assets to = (1) $50,001-$100,000 CY $10,000,001-$50 million CY $1,000,000,001-$10 billion
be worth? Psion. sno Q $50,000,001-$100 million () $10,000,000,001-$50 billion
$500,001-$1 million CJ $100,000,001-$500 million () More than $50 billion

 

20. How much do you
estimate your liabilities
to be?

ETE 0-20

For you

(1 $0-$50,000
$50,001-$100,000

(J $100,001-$500,000

Q) $500,001-$1 million

QO) $1,000,001-$10 million

LD $10,000,001-$50 million
LJ $50,000,001-$100 million
LJ $100,000,001-$500 million

(2 $500,000,001-$1 billion

C2 $1,000,000,001-$10 billion
C) $10,000,000,001-$50 billion
CD More than $50 billion

| have examined this petition, and | declare under penalty of perjury that the information provided is true and

correct.

If! have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed

under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

 

Signature of Debtor

Executed on >

 

Official Form 101

Voluntarv Petition for Individuals Filina for Bankruptev

foal

Mal 1 DD AIYYYY

Fe er cee ED

52, 1341, 1519, and 3571.
x

 

Signature of Debtor 2

 

 

 

Executed on
MM / DD /YYYY

ASS RE PY EE SRT SETS ES TE ee Pe AS

pace 7

 
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.  Menacbilar nn

 

 

First Name ¥ Middle Name Last Name

 

|, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s) about eligibility
For your attorney, If you are, proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one available under each chapter for which the person is eligible. | also certify that | have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that | have no
If you are not represented — knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not

need to file this page. x Wi a WA Date

Signature of Attophey for Debtor MM / DD /YYYY

 

Printed name

 

Firm name

 

Number Street

 

 

City State ZIP Code

Contact phone Email address

 

Bar number State

 

Official Form 101 Voluntarv Petition for Individuals Filina for Bankruotev nade 8

 
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PUNE Eber

For you if you are filing this
bankruptcy without an
attorney

If you are represented by
an attorney, you do not
need to file this page.

 

Official Form 101

 

 

The law allows you, as an individual, to represent yourself in bankruptcy court, but you
should understand that many people find it extremely difficult to represent
themselves successfully. Because bankruptcy has long-term financial and legal
consequences, you are strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very
technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?
QO. No

Fives

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?
OC) No

Yes

jd you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
No

Yes. Name of Person .
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

 

By signing here, | acknowledge that ! understand the risks involved in filing without an attorney. !
have read and understood this notice, and | am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or property if | do not properly handle the case.

 

Signature of Debtor Signature of Debtor 2

 

 

= 7 DD ol Al Pate MMT DD /YYYY —
Contact phone GL/, /- — 5 3 528 Contact phone

i

_ Cell phone

 

(

Cell phone
Email address Ks baker ges) Email address

fy]

Voluntary Petition for Individuals Filina for Bankruptev paae 9

    

 

 

 

 
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Debtor 1

 

first Name

Debtor 2

 

(Spouse, if fling) First Nama Name Name
’ T
United States Bankruptcy Court for nell \ le District of f a (0

Case number

 

UI Check if this is an

 

 

amended filing

Official Form 106A/B
Schedule A/B: Property 42/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

 

isi Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

(2 No. Go to Part 2.
ire Where is the property?

  

 

 

 

 

ia the property? Chock of that apply. Do not deduct secured claims or exemptions. Put
¥ Single-family home the amount of any secured claims on Schedule D:
1.1, Duplex or multi-unit building Creditors Who Have Claims Secured by Property.
(C2) Condominium or cooperative Current value of the Current value of the
QO) Manufactured or mobile home entire p ? portion you own?
: Land s (20 000
C 7 Og Investment property
- CD Timeshare Describe the nature of your ownership
City Stale IP Code oO ey interest (such as fee simple, tenancy by
the enti or a life ), if known.
? Who has an interest in the property? Check one. A eC 0 Y)
waco a Coser Sage Woman,
County ; C) Debtor 2 only
(2 Debtor 1 and Debtor 2 only CD check if this is community property

(1) At least one of the debtors and another ere)

Other information you wish to add about this item, such as local
property identification number:

 

If you own or have more than one, list here:

 

 

 

 

 

 

 

What is the property? Check all that apply. Do not ded Sabie cre : Pub
QO Single-family home the amount of any secured claims on Schedule D:
1.2. —— : Creditors Who Have Claims Secured by Property.
3 aia Wacaai, Ox — CJ Duplex - oe yuiing
(2 Condominium or cooperative Current value of the Current value of the
(J Manufactured or mobile home entire property? portion you own?
Q) Lana $ $
CD investment property
_ GO wneehs Describe the nature of your ownership
City Sate ZP Code seere interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
QI Debtor 1 only
County QO) Debtor 2 onty
OQ) Debtor 1 and Debtor 2 only Q) check if this is community property
(C2 At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

 
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— nen se taker

swf

ek aa a eee

 

 

City State ZIP Code

 

2. Be Re ee te ee re een ren’. en ee

What is the property? Check all that apply.
oO Single-family home

OQ) Duplex or multi-unit building

C2 Condominium or cooperative

QO) Manufactured or mobile home

QO) Land

LD investment property

Q) Timeshare

C2) other

 

Who has an interest in the property? Check one.

CJ Debtor 1 only

Q) Debtor 2 only

(J Debtor 1 and Debtor 2 only

CD At least one of the debtors and another

Case number (if known)_

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.
Current value of the Current value of the
entire property? portion you own?

3 $

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

O) check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

you have attached for Part 1. Write that number here. ..

“Fuese Describe Your Vehicles

 

 

 

 

 

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

bed No
Yes
3.1. Make: fo

Model:

Year. I
Approximate mileage:

Other information:

 

 

If you own or have more than one, describe here:

3.2. Make: NV
Model:
Year:
Approximate mileage:
Other information:

 

 

 

 

has an interest in the property? Check one.

Debtor 4 only
Debtor 2 only

Q) Debtor 1 and Debtor 2 only

() At least one of the debtors and another

QO) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

Q Debtor 4 only

Q) Debtor 2 only

Q] Debtor 1 and Debtor 2 only

(C1 At least one of the debtors and another

C) Check if this is community property (see
instructions)

Do not deduct secured claims or exemptions, Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

1000 _ +0000

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?
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ae

3.3. Make:
Model:
Year:
Approximate mileage:
Other information:

 

3.4. Make:
Model:
Year:
Approximate mileage:
Other information:

efaeer

Last Name

rh

WA

 

 

 

Who has an interest in the property? Check one.

CJ Debtor 4 only

(2 Debtor 2 only

Q) Debtor 4 and Debtor 2 only

OQ Atleast one of the debtors and another

QO Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

OQ Debtor 1 onty

Q Debtor 2 only

(2 Debtor 1 and Debtor 2 only

(1 At least one of the debtors and another

QO) Check if this is community property (see
instructions)

Case number (itknown)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

s O sD

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

s © £0

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

0) No

QO) Yes

4.1. Make: NV i |
Model:
Year:
Other information:

 

 

 

 

Model:

If you own or have more than one, list here:
42. Make: H

Year:
Other information:

 

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here ee eeeeeceeeeceeneneeeeeeceeececeececeececeeceneenennnnneneneenencennnnnnnentnnneennns >

Who has an interest in the property? Check one.
OQ} Debtor 1 only

OQ Debtor 2 only

(0 Debtor 1 and Debtor 2 only

O) Atleast one of the debtors and another

O) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.
(2 Debtor 1 only

QO) Debtor 2 only

Q) Debtor 1 and Debtor 2 only

OQ) Atleast one of the debtors and another

CI Check if this is community property (see
instructions)

Do not deduct secured claims or exemptions. Put

Current value of the Current value of the
entire property? portion you own?

OO 0

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the Current value of the
entire property? portion you own?

a Or

/0.,.000

 

a

 

 

1a eee

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Debtor 1

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Men Sie tater

First Name Last Name

“Wate Describe Your Personal and Household items

Case number known},

 

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

CU) No

——
Wes Describe.........

mst

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music

collections; electronic devices incdiuding cell phones, cameras, media players. games

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

 

Hist

 

 

8. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;

ee
Yes. Describe..........

stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

 

 

 

9. Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes

te
Yes. Describe..........

10. Firearms

and kayaks; carpentry tools; musical instruments

 

amples: Pistols, rifles, shotguns, ammunition, and related equipment

No

11. Clothes

 

 

 

 

 

Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

QO) No

we Describe..........

12. Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,

 

 

WISe

 

 

gold, silver

 

 

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses

Q) No

No

Yes. Give specific
information, ............4

 

Wes. Desoribe......... | DO q

other personal and household items you did not already list, including any health aids you did not list

 

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached

for Part 3. Write that number here L mesesshtett insesnerseensBinsiejancrrisctla

———————_ >. ee

SS

 

 

 

 

 

a F

 

 

 
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. Lrence biker ae

Last Name

let Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
Do not deduct secured claims
or exemptions.

16. Cash

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
C1 No / 0 0 Dd
res issnibsana nat schnonaanssias cat isnot Coca facacapeetysTiccanisao esLsbSbecatB Sb SanesnenavieinteiScaabiaectdieabeat hava cash: AZ § /?)

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.

hie ae! ie 1000

17.1, Checking account:

 

 

 

 

17.2. Checking account: $ CC)
17.3. Savings account: $ ( )
17.4. Savings account: $ f)
17.5. Certificates of deposit: $ O
17.6. Other financial account: $ O

 

 

47.7. Other financial account: ,
17.8. Other financial account: s O.
17.9, Other financial account: s OQ

 

 

18. Bonds, mutual funds, or publicly traded stocks
v. Bond funds, investment accounts with brokerage firms, money market accounts
No

i 7 ee Institution or issuer name:

 

 

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in

ag LLC, partnership, and joint venture
Whe Name of entity: % of ownership:
Yes. Give specific 0% % $ 6

 

 

information about
them....... 0% % $
0% % / :

 

 

 
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a WONG PH cee

20. Government and corporate bonds and other negotiable and non-negotiable instruments

Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
i instruments are those you cannot transfer to someone by signing or delivering them.

Yes. Give specific Issuer name:

 

 

 

21. Retirement or pension accounts
a Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
No

Yes. List each
account separately. Type of account: Institution name:

401(k) or similar plan:

$
Pension plan: s (

 

 

IRA:

 

“ Retirement account:

 

 

Keogh:
Additional account:

$

$

$

$ >
Additional account: $ ( )

 

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
panies, or others

No
CO VS oe cccccccsesssseereeee Institution name or individual:

 

 

Heating oil:
Security deposit on rental unit:
Prepaid rent:
Telephone:

Water:

 

 

 

 

 

Rented furniture:

 

Other:

 

— (A contract for a periodic payment of money to you, either for life or for a number of years)

 

 

AF fF A Ff A A A A A

 

 
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an LW Area ker ania

Fest Name.”

24.Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
ne §§ 530(b)(1), 529A(b), and 529(b)(1).
No

RE erence institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

 

 

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
eo for your benefit

No

Yes. Give specific
information about them....

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
ge Internet domain names, websites, proceeds from royalties and licensing agreements
i)

Yes. Give specific
information about them... $ ( >
27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
CL) No

Yes. Give speci Florida e
Pe | We Insv0c¢e fohiee ca ee

 

 

 

 

 

 

 

Money or property owed to you? Current value of the
: ; portion you own?
Do not deduct secured
claims or exemptions.
28. Tax refunds owed to you
‘ Yes. Give specific information Federal: $ O
about them, including whether i

 

you already filed the returns State: $
ind the tax Years... 7
. Local: $

 

29. Family support
mples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
No
Yes. Give specific information.............. 5

 

30. Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
& Social Security benefits; unpaid loans you made to someone else
No

Yes. Give specific information............... |
$. ( )

 

 

 
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Case Tu

Debtor 1

  

31. Interests in insurance policies
les: Health. c’sability, cr life insurance; health savirgs accourt (HSA; sedi. Nomeowrers. or renters insurance

No
Yes. Name the insurance company

: ; Company name: Beneficary: Surender or refund value:
cf eacn policy and lis: its value. ..

 

 

32. Any interest in property that is due you from someone who has died

If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

No

Yes. Give specific information.............. a )
3

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

No
Yes. Describe each claim. ...........--.00 :
, ©

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights

set off claims
Yes. Describe each olaim. cc. ©
$

35. Any financial assets you did not already list

 

No ~
Yes. Give specific iniormation............ : €")
36. Add the dollar value of all of your entries from Part 4, iia any entries for pages you have attached C)
for Part 4, Write that number here ooo. ws seus she unsenenmecctecce cc a $

 

 

 

ist Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

37. Dp you own or have any legal or equitable interest in any business-related property?
No. Go to Pari 6.
Yes. Go to line 38.
Current value of the
portion you own?
Do not deduct secured claims
or exemptions. |.

38. nts receivable or commissions you already earned

Yes. Describe.......
$ C)

39. Office equipment, furnishings, and supplies
ples: Business-related computers, software, modems, printers, copiers, fax machines, ngs, telephones, desks, chairs, electronic devices

No

Yes Desc Moe s 0 DOO
Case 8:21-bk-04744-MGW Doc1 Filed 09/16/21 Page 21 of 47

pale Mey ef tel mceumaes

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

 

 

41.[nyentory
en = O
Yes. Describe....... Oe cet

42. Interests in partnerships or joint ventures
No
Yes. Describe....... Name of entity: % of oe

 

 

lo
()\Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

QO) No
Q) Yes. Describe........ | ~]

“e business-related property you did not already list

43. of lists, mailing lists, or other compilations
Yi

 

No

Yes. Give specific
information .........

 

gCGG jC

 

A A AA A

r

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
for Part 5. Write that musrvvber tree ooo. ceenseneeececcnsnnevesensansnnsnensoncvesonsconeesenecconsnngnensrssnnesesessenannesensnns >

 

if you own or have an interest in farmiand, list it in Part 1.

 

46. ro own or have any legal or equitable interest in any farm- or commercial fishing-related property?

No. Go to Part 7.

Yes. Go to line 47.
Current value of the
portion you own?
Do not deduct secured claims
or exemptions.

47, Farm animals
amples: Livestock, poultry, farm-raised fish
4 No
Yots..

sore} = —_
| oO

L

 
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a davon ue biker a

48. Crops—either growing or harvested
O) No ———

(J Yes. Give specific | |
information. ............ | SoS

 

 

LL Set

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
QO) No

Ss
DYES on nonesnenne : | lo O
ie

 

 

50. Farm and fishing supplies, chemicals, and feed
Q) No

CD Ves. eececteeeeee —_— oes 0 “4

 

51. Any farm- and commercial fishing-related property you did not already list
Q No

Q) Yes. Give =) 7 IE
information. ........... $

 

 

§2. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ ( )
for Part 6. Write that mummmbper tee... aesccscscssssccccssssesesccsssseesescensscsasentcssesuesesensetonesecercabtnusseassssestcssenousseeestoninneetesesuuasgesesananesee >

 

 

 

FEEEAE Descrite ait Property You Own or Have an Interest in That You Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

 

O No | - | ( )
CL) Yes. Give ii a | $
information. ... “| $

$ 6

 

54. Add the dollar value of all of your entries from Part 7. Write that number here 000.0 ccc cccsseecccsnseceeeneeee s ()

 

 

 

uti List the Totals of Each Part of this Form

 

§5.Part 1: Total real estate, ime 2 ooo ecccesccceesccscscsscsssuessseessssecssnvesssesersererseraesnurssaversnsissueeessersneeeesnucesnaresnnaressusesensstscecssceessceee SP » ADO

56. Part 2: Total vehicles, line 5

57. Part 3: Total personal and household items, line 15

58. Part 4: Total financial assets, line 36

59. Part 5: Total business-related property, line 45

60. Part 6: Total farm- and fishing-related property, line 52

61. Part 7: Total other property not listed, line 54 61,000 68

62. Total personal property. Add lines 56 through 61. ....-....essss0- | Copy personal property total } +$

 

 

 

63. Total of all property on Schedule A/B. Add line 55 + line 62...... § ARTS

 

 

 

AH], [00
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Fill in this information to ider

Debtor 1

 

Debtor 2

 

(Spouse, if filing) First Name é Last Nerne
United States Bankruptcy Court endl ddl le District of Florida

Case number (3 Check if this is an

 

(if known)

 

amended filing

 

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number {if known).

 

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

FERRE tcentity the Property vou Ciaim as Exempt

1. ich set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value ofthe | Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own

Copy the value from Check only one box for each exemption.

a ie (Gedence MOU as [00.000

 

 

 

 

Line from Q 100% of fdir market value, up to
Schedule A/B: any applicable statutory limit
Brief

description: ————————_——-__ 8s Os

na sees Q) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief

description: $ Os

Line from () 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

3. Are you claiming a homestead exemption of more than $170,3507
(Swbject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
hc

Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
Q) No
QO) Yes
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Debtor 1 5 i
Firs! Naine = Middle Name Last Name |

Debtor 2 |

(Spouse, if fling) First Name We Last Name t

¥

United States Bankruptcy Court for the: Mao District of Ei or (MN !

Case number

(if known} C) Check if this is an

 

amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

 

1. Do any creditors have claims secured by your property?
(1 _No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
Sires. Fill in all of the information below. |

WER Sosnis
ColumnA ss CowmnBsts—~*~«é« tum ©

2 List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount claim ‘Value of collateral Unsecured
| for each claim. if more than one creditor has a particular claim, list the other creditors in Part 2. Ones furore sc i
As much as possible, list the claims in alphabetical order according to the creditor's name. :

iC2 _ en TO Pan Nr ete -1og000- Eto (00 . “Oo
| pre ! ) 3 - |

| 0 = “hecthh dab woe Mn, the claim is: Check all that apply.

CJ Contingent

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

unliquidated
City State ZIP Code 2 Disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
| (2 Debtor 4 only O) An agreement you made (such as mortgage or secured
QO) Debtor 2 only car loan)
() Debtor 1 and Debtor 2 only O) Statutory lien (such as tax lien, mechanic's lien)
() Atleast one of the debtors and another . Judgment lien from a lawsuit
Other (including a right to offset)
QO Check if this claim to
community debt F BT <4
Date debt was incurred 0 Last 4 digits of account numberc—" Vo [| ©
A Describe the property that secures the claim: $ $ $
\ Creditors Name } ] 7 : a
|
Number Street | a
As of the date you file, the claim is: Check all that apply.
O2 Contingent
OQ Unliquidated
City State ZIP Code 2 Disputed
Who owes the debt? Check one. Nature of lien. Check ail that apply.
3 Debtor 4 only Q) An agreement you made (such as mortgage or secured
Q) Debtor 2 only car loan)
OQ) Debtor 1 and Debtor 2 only Q) Statutory tien (such as tax lien, mechanics lien)

| Q) Atleast one of the debtors and another - Judgment lien from a lawsuit
| Other (including a right to offset |
O Check if this claim relates to a _ rei |

community debt
Date debt was incurred Last4digits of account number

 

Add tha daller walus af wer ontrise in Column A an thie nane Write thet norhor hare: k I
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. Hf (en ove Ey ker ae

First Name

 

rr List Others to Be Notified for a Debt That You Already Listed

! Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
| agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
| you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. if you do not have additional persons to
| be notified for any debts in Part 1, do not fill out or submit this page.

[| V/f On which line in Part 1 did you enter the creditor?

Name / Last 4 digits of account number __

 

 

Number Street

 

 

 

City State ZIP Code
B: Caubich ine Pats Midyoucemrmececuer?
Name Last 4 digits of account number

 

Number Street

 

 

[| COUR ahen Midekertheinn
Name Last 4 digits of account number __

 

 

 

 

[| "Gn whet libs ba Peit't dab yeu enter the crodher? __
Name Last 4 digits of account number

 

 

 

 

 

City State ZIP Code
| | On which line in Part 4 did you enter the creditor?
Name Last 4 digits ofaccount number

 

 

 

 

City State ZIP Code
[| “Cn wiihine hens Rayon eect
Name Last 4 digits of account number

 

 

 

City State ZIP Code

 

 

 
ta ae

(Spouse, if fling) First Name

United States Bankruptcy Court for the:

Case 8:21-bk-04744-MGW Docl1

ormation to identify yo

 

 

Case number

MAE owes COAG

 

(if known)

 

 

Official Form 106E/F

 

Schedule E/F: Creditors Who Have Unsecured Claims

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Q) Check if this is an
amended filing

12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result ina claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. lf more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

List All of Your PRIORITY Unsecured Claims
4 oe creditors have priority unsecured claims against you?
vi

 

jo. Go to Part 2.
es.

} 2 List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
i each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

2.4

 

U/A

 

 

 

 

 

 

 

 

 

 

 

 

 

Last 4 digits of t number $ § $
Priority Creditor's ame eRe aE epcenet ae i
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply
City Slate ZIP Code ) Contingent
QO unliquidated
Who incurred the debt? Check one. Qo Disputed
Q) Debtor 1 only
Ql Debtor 2 onty Type of PRIORITY unsecured claim:
2 Debtor 1 and Debtor 2 only QO) Domestic support obligations
At least one of the debtors and another QO Taxes and certain other debts you owe the go ;
Q) Check if this claim is fora community debt =) Claims for death or | dey Wie le
Is the claim subject to offset? intoxicated
Uno CJ Other. Specify
Q yes =
4 digits of t number
as sthaine ng) account nu eect & $ $
{ When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
Q Contingent
City State ZIP Code O) unliquidated
Who incurred the debt? Check one. 1 disputes
Q) Debtor 1 onty
T PRIORITY unsecu claim:
QO Debtor 2 onty whe ot ag .

() Debtor 1 and Debtor 2 only
O Atleast one of the debtors and another

Q) Check if this claim is for a community debt

Is the claim subject to offset?
QO no

Mv.

C1 Domestic support obligations

Q) Taxes and certain other debts you owe the government

4 Claims for death or personal injury while you were
intoxicated

QO) other. Specify

 
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Bren eBaler pase

on List All of Your NONPRIORITY Unsecured Claims

 

3 Do any creditors have nonpriority unsecured claims against you?

She You have nothing to report in this part. Submit this form to the court with your other schedules.
Yes

4 List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
| nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.1f you have more than three nonpriority unsecured
claims fill out the Continuation Page of Part 2.

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ZIP Code As of the date you file, the claim is: Check all that apply.
QO) Contingent

© incurred the debt? Check one. oO Unliquidated

Debtor 1 only OQ) Disputed
OQ) Debtor 2 only
{3 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
OQ Atieast one of the debtors and another FE} eidistiien
Q Check if this claim is for a community debt QO Obligations arising out of a separation agreement or divorce

that you did not report as priority daims

Is the claim subject to offset? CD Debts to pension or i , and other simijar debts
By OB other. specity (Ted bc 40-0

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SIAN Lpeys When was the debt incurred?
- “"Contio (ot Qe 44 As of the date you file, the claim is: Check all that apply.

 

 

CD Contingent
incurred the debt? Check one. OQ) Unliquidatea
ower Q) Disputed
Debtor 2 only
OQ] Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
OQ) Atleast one of the debtors and another 1 student toans
OQ Check if this claim is for a community debt Q “an”

isthe claim subject to offset? Q) Debts to pension ing plans, and other sipfilar debts
Ye Y other. speaity Credit arc

B] UAL { + (b Last 4 digits of account number Q1ky
““VOBO X ZB oe When was the debt incurred? US «Tf

EL 3363) As of the date you file, the claim is: Check all that apply.

 

 

 

 

City

incurred the debt? Check one. OQ) Contir gent
QO) unliquidated
tor 1 only Q pi
Debtor 2 only

Q) Debtor 1 and Debtor 2 only

Type of NONPRIORITY unsecured claim:
CQ) Atleast one of the debtors and another

C) Student loans
OQ Check if this claim is for a community debt (teenie atc cicle iz
Ig,the claim subject to offset? that you did not report as priority claims

BN : beabeal CC tar a

 

 
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Karey ve Bikec

Case number (7 known)__

Your NONPRIORITY Unsecured Claims — Continuation Page

 

_ After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

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State ZIP Cade

 

  
  

incurred the debt? Check one.

Debtor 1 only
Debtor 2 only
Q) Debtor 1 and Debtor 2 only
C Atleast one of the debtors and another

O) Check if this claim is for a community debt
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When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
QO) Contingent

QO) Untiquidated

QO) Disputed

Type of NONPRIORITY unsecured claim:

Q} Student loans
(J Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Debts to pension or, ring plans, and other similar debts
Other. Specify

 

 

 

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—nPailje FL 5224]

Who incurred the debt? Check one.

Debtor 1 only
Debtor 2 only
Debtor 1 and Debtor 2 only
C) Atleast one of the debtors and another

O Check if this claim is for a community debt

Is the claim subject to offset?

No
Yes

Laat deticeeniiaie A OS. $ 207

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

O Contingent
CJ unliquidated
Q) Disputed

Type of NONPRIORITY unsecured claim:

Q) Student loans

QO Obligations arising out of a separation agreement or divorce thal
you did not report as priority claims

Debts to pension or, -shaging plans, other similér debts
Other. Specify

 

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incurred the debt? Check one.

ebtor 1 only
Debtor 2 only

OQ) Debtor 1 and Debtor 2 only

CQ) Atleast one of the debtors and another

ZIP Code

OQ Cheek if this claim is for a community debt
Is the claim subject to offset?

No
Yes

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Lets dene tacit UO rm,
When was the debt incurred? @

As of the date you file, the claim is: Check all that apply.
QO) Contingent

2 Unliquidated

Q) Disputed

Type of NONPRIORITY unsecured claim:

QO) Studenttoans
O Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Debts to pension or profit-sharin hy nee ee
Other. Specify (

 
Case 8:21-bk-04744-MGW Doc1 Filed 09/16/21 Page 29 of 47

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Debtor 4

Case number (if known)_

Your NONPRIORITY Unsecured Claims — Continuation Page

 

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

DEK 33570

Street

Who incurred the debt? Check one.

Debtor 1 only
Debtor 2 only
Q] Debtor 1 and Debtor 2 only
OQ Atleast one of the debtors and another

City

C) Check if this claim is for a community debt
is, the claim subject to offset?
Wr

Yes

   

Total claim —

ussenaicdueee so WIBSD

As of the date you file, the claim is: Check all that apply.
QO Contingent

QO) unliquidated

QO) disputed

Type of NONPRIORITY unsecured claim:

C1 Student loans
Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

home smn (Gh t Card

 

 

 

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ZIP Cade
incurred the debt? Check one.
ebtor 1 only

Debtor 2 only
C) Debtor 1 and Debtor 2 only
(2 Atleast one of the debtors and another

O) Check if this claim is for a community debt
tn. claim subject to offset?

C) Yes

Last 4 digits of account number SVPZY

When was the debt incurred?

1 Bs,377

As of the date you file, the claim is: Check all that apply.
as | Contingent

U2 unliquidated

OQ} pisputed

Type of NONPRIORITY unsecured claim:

2 Student loans
(2 Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Q2 Debts to pensi aaring plans, and similar debts
Mone: soeay CfA / Cater

 

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0 incurred the debt? Check one.

tor 1 only
Debtor 2 only

() Debtor 1 and Debtor 2 only

OQ Atleast one of the debtors and another

 

() Check if this claim is for a community debt
Is the claim subject to offset?

No
Yes

bZ s 17508

When was the debt incurred? 0 O

Lastismgns arsicnmn tai

As of the date you file, the claim is: Check all that apply.

3 Contingent
2 unliquidated
(J Disputed

Type of NONPRIORITY unsecured claim:

2 Student toans

i | Obligations arising out of a separation agreement or divorce that
ye Ea at capert a8 ploy deme

QO sic Ney son WM Car plang, and other similar debts

 
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ve HOE) LVEFRLE aan

ies List All of Your NONPRIORITY Unsecured Claims

 

(3 Do any creditors have nonpriority unsecured claims against you?
| LANo. You have nothing to report in this part. Submit this form to the court with your other schedules.
Yes

_ 4, List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one

| nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. lf more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

| claims fill out the Continuation Page of Part 2.

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Fereville NC A882
As of the date you file, the claim is: Check all that apply.

 

 

 

Contingent
© incurred the debt? Check one. () Unliquidated
Debtor 1 only OQ) bisputea
Debtor 2 only
CJ Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Atleast one of the debtors and another Ch sutedione
O) Cheek if this claim is for a community debt 2 Obligations arising out of a separation agreement or divorce

that you did not report as priority claims

Ig the claim subject to offset? Q) Debts to pension
Be VY otter spect ay Tine Sie

a Midland Credit /Anex. Ls sage taco mow | OO 2 TSS
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n los As of the date you file, the claim is: Check all that apply.
City State ZIP Code Qo Conti
incurred the debt? Check one. O) Unliquidated
Josten QO Disputed
Debtor 2 only
D2 Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(CD Atteast one of the debtors and another QO) Student loans
Q) Check if this claim is for a community debt = cutuca.CC
Ig the claim subject to offset? O) Debts to pension ee other similar debts
No BY other. Specify :
e

 

 

 

a MM Cd | Coren BWVICC ntsc recnunin L 2D. . SA oot)
Ne nif St a When was the debt incurred?

 

     

As of the date you file, the claim is: Check all that apply.

City c_ ZIP Code
incurred the debt? Check one. UW Cantingert
Debtor 1 only O Uniiquidated
Q m3
QO) \pebtor 2 only ad

() Debtor 1 and Debtor 2 only

Type of NONPRIORITY unsecured claim:
OQ) Atteast one of the debtors and another

Q) student ioans
Q) Check if this claim is for a community debt CO cethincatns otc . Lo
Is the claim subject to offset? that you did not report as priority claims

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.. Gone: sec

 
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cen Maren ae Bader

es All of Your NONPRIORITY Unsecured Claims

Case number (# known)

 

| 3. Do any creditors have nonpriority unsecured claims against you?

D2 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

| 4, List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
} nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already __
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

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a "CA 70030

© incurred the debt? Check one.
Debtor 1 only

OO) debtor 2 only

Q) Debtor 1 and Debtor 2 only

CJ Atleast one of the debtors and another

 

 

ZIP Code

0) Check if this claim is for a community debt

+5 claim subject to offset?
No

Total clair hes

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When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
QO Conti

QO) Unliquidatea

OQ Disputed

Type of NONPRIORITY unsecured claim:

QO) student ioans
(2 Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

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Dey Bo! 630
te CA 70630 __

incurred the debt? Check one.
Debtor 1 only
Debtor 2 only
(2 Debtor 1 and Debtor 2 only
(2 Atteast one of the debtors and another

 

 

City

Q) Check if this claim is for a community debt
De claim subject to offset?

Q Yes

Last 4 digits of account number WSS $ rsst4?

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
QO) Contingent

QO) Unliquidated

QO) pisputed

Type of NONPRIORITY unsecured claim:
QO) Student loans

Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Debts to pension -sharing plans, and similar debts
Other. Specify

 

 

 

 

ET Md and Cred Want

 

 

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City State ZIP Code

incurred the debt? Check one.

tor 1 only
Q Debtor 2 onty
CQ) Debtor 4 and Debtor 2 only
(21 Atteast one of the debtors and another

O) Check if this claim is for a community debt
iia

QO ves

Last 4 digits of account number Te oS

When was the debt incurred?

AIB4?

As of the date you file, the claim is: Check all that apply.
QO) Contingent

QO Unliquidated

OQ Disputed

Type of NONPRIORITY unsecured claim:

C) student loans
OQ) Obligations arising out of a separation agreement or divorce
that you did not report as priority daims

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Part 2:

 

Case 8:21-bk-04744-MGW Doc1 Filed 09/16/21 Page 32 of 47

ee Sie

Fi Mame Last Name

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List All of Your NONPRIORITY Unsecured Claims

Case number (i known),

 

3. Do any creditors have nonpriority unsecured claims against you?

C) No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

4, List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already __
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

a Mid lend Cred Manet
meme Bo | 030
"CB F0030 _

u incurred the debt? Check one.

 

_&

Debtor 1 only
Debtor 2 only
Q) Debtor 1 and Debtor 2 only
OQ) Atleast one of the debtors and another

() Check if this claim is for a community debt

Ig,the claim subject to offset?
No
QO Yes

‘itt dabila at atlindecaiee 1 te S57

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
QO) Contingent

2 unliquidated

O Disputed

Type of NONPRIORITY unsecured claim:

QO) Student loans

O Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

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incurred the debt? Check one.
Bowe 1 only
Debtor 2 only
Q) Debtor 1 and Debtor 2 only
() Atleast one of the debtors and another

QO) Check if this claim is for a community debt
claim subject to offset?

Last 4 digits of account number DsGS FALLS

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
C) Contingent

QO) unliquidated

im] Disputed

Type of NONPRIORITY unsecured claim:

O) Student loans
Q Obligations arising out of a separation agreement or divorce
that you did nat report as priority claims

Debts to pension ring plans, and similar debts
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incurred the debt? Check one.
Debtor 1 only
Debtor 2 only
CQ) Debtor 1 and Debtor 2 only
CJ Atleast one of the debtors and another

 

O) Check if this claim is for a community debt

Isrthe claim subject to offset?
No
OQ) Yes

Last 4 digits of account number OTL Oo oS iy

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
QO) Contingent

QO) unliquidated

QO) Disputed

Type of NONPRIORITY unsecured claim:

() student loans

QO Obligations arising out of a separation agreement or divorce
that you did not report as priority daims

OQ) Debts to pension ing plans, similar debts
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List All of Your NONPRIORITY Unsecured Claims

 

 

3. Do any creditors have nonpriority unsecured claims against you?

| TA No. You have nothing to report in this part. Submit this form to the court with your other schedules.
| Yes
4 List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. |f a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.lf you have more than three nonpriority unsecured
claims fill out the Continuation Page of Part 2.

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PPP POX 9 sO When was the debt incurred?
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As of the date you file, the claim is: Check all that apply.

QO) Contingent
incurred the debt? Check one. Q Unliquidated
1 only OQ) bisputed
Debtor 2 only
Q) Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
OC) Atleast one of the debtors and another Ci ‘seedicons
D Cheek if this claim is for a community debt (2 Obligations arising out of a separation agreement or divorce

ee
(J Debts to pension or profit-sharing and other similar debts

Of other. Spec | lEe4 ca

omni. deed.
Last 4 digits of account number Oo FD OAT T |

When was the debt incurred?

J iL ton WE 17850 As of the date you file, the claim is: Check all that apply.

 

 

 

 

 

 

QO) Contingent
incurred the debt? Check one. O Unliquidatea
Debtor 1 only OQ Disputed
Debtor 2 only
Q] Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
©) Atteast one of the debtors and another O) Student loans
Q) obtigations arising out of i divorce
OQ] Check if this claim is for a community debt oenanuien ee

_IdYhe claim subject to offset? a ce Chae
ae
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DET IE V4 2354/ As of the date you file, the claim is: Check all hat apply.

 

 

 

incurred the debt? Check one. C1 Contingent
Debtor 1 only - ne
Debtor 2 only

| (2 Debtor 1 and Debtor 2 only

Type of NONPRIORITY unsecured claim:
C2 Atieast one of the debtors and another

QO) Student loans

OQ) Check if this claim is for a community debt cee sail
ones Q that you did not report as priority claims

Debts to pension or i peo ate
CQ) ves a Other. Specify Ll Co Ca |

 

 
Case 8:21-bk-04744-MGW Doc1 Filed 09/16/21 Page 34 of 47

a LN VEPILA

First Name Least Hamre

ese List All of Your NONPRIORITY Unsecured Claims

Case number (if nawn)

 

(3. Do any creditors have nonpriority unsecured claims against you?

QI No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes
|

4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already

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claims fill out the Continuation Page of Part 2.

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City

 

 

incurred the debt? Check one.

Debtor 1 only
Debtor 2 only
C) Debtor 1 and Debtor 2 only
(2) Atleast one of the debtors and another

O) Check if this claim is for a community debt

are claim subject to offset?
No

Total claim —

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When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
C1 Contingent

QO) Unliquidated

Q) Disputed

Type of NONPRIORITY unsecured claim:

OQ) student ioans
QO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

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incurred the debt? Check one.
Debtor 1 only
Debtor 2 only
() Debtor 1 and Debtor 2 only
(QD Atteast one of the debtors and another

 

Q) Check if this claim is for a community debt
re claim subject to offset?

QO) ves

Last 4 digits of account number A271, s_ (OY (Q

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
C) Contingent

O Unliquidated

QO Disputed

Type of NONPRIORITY unsecured claim:

Q) Student loans
O Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Q mum fede
W Other. Specify

 

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i §50
City State ZIP Code
ob incurred the debt? Check one.

ebtor 1 only
CD Debtor 2 only
Q) Debtor 1 and Debtor 2 only
OQ Atleast one of the debtors and another

Q) Check if this claim is for a community debt
eo

QO) Yes

As of the date you file, the claim is: Check all that apply.
Q Contingent

QO) unliquidated

OQ Disputed

Type of NONPRIORITY unsecured claim:

O21 student loans
Q Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

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Case 8:21-bk-04744-MGW Docl1

Debtor 1

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Ee List All of Your NONPRIORITY Unsecured Claims

First Name

Filed 09/16/21 Page 35 of 47

Case number (it own),

3 Do any creditors have nonpriority unsecured claims against you?
(2 No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

| 4 List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
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f included in Part 1. if more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

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City 4

 

 

incurred the debt? Check one.
Debtor 1 only
Debtor 2 only
(3 Debtor 1 and Debtor 2 only
() Atieast one of the debtors and another

QO Check if this claim is for a community debt

Ig,the claim subject to offset?
Be

Last 4 digits of account wim).

When was the debt incurred?

As of the date you file, the claim is: Check ail that apply.

QO Contingent
O unliquidated
QO} Disputed

Type of NONPRIORITY unsecured claim:

QO) Student loans

(0 Obligations arising out of a separation agreement or divorce
duet

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Nonpriority Creditor's opens

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Last 4 digits of account number
When was the debt incurred?

 

$

 

 

 

 

 

Number Street
As of the date you file, the claim is: Check all that apply.

City State ZIP Code ©) cons

Who incurred the debt? Check one. OQ) unliquidated

OQ) Debtor 1 only O) Dispute

Q) Debtor 2 onty j

(2 debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:

Q) Atieast one of the debtors and another OD Student loans

Q . ml 4s ot di
OQ) Cheek if this claim is for a community debt ous voll ib nia sonnei calien m
| Is the claim subject to offset? Q Debts to pension or profit-sharing plans, and other similar debts
D No O other. Specify
O Yes af. Lan
i | ALT Last 4 digits of account number
Nonpriority Creditors Nanfe $
~ When was the debt incurred?

Number Street

ay Seas a Gone As of the date you file, the claim is: Check all that apply.

Who incurred the debt? Check one. = eek aa

OQ Debtor 1 only OD cs

D2) Debtor 2 only '

Q) Debtor 1 and Debtor 2 only
(2 Atleast one of the debtors and another

OQ) Check if this claim is for a community debt

Is the claim subject to offset?
QO No
DO) Yes

Type of NONPRIORITY unsecured claim:

O) student loans

oO Obligations arising out of a separation agreement or divorce
that you did not report as priority daims

O) Debts to pension or profit-sharing plans, and other similar debts

QO) other. Specify

 

 
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. aarteber ae
RR a ne amnunt tor enn typ of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claim
_ O
Total cl 6a. Domestic support obligations 6a. $
~~) 6b. Taxes and certain other debts you owe the
government 6b. $
6c. Claims for death or personal injury while you were
intoxicated 6c. $

6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d. + $

6e. Total. Add lines 6a through 6d. 6e. ( |

 

 

 

 

Total claims 6f. Student loans 6f. 5 O)

from Part2 64. Obligations arising out of a separation agreement
or divorce that you did not report as priority
claims 6g.

Oe
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. $
$ C3

6i. Other. Add all other nonpriority unsecured claims.
Write that amount here. 6. +

6). Total. Add lines 6f through 6i. 6j. ©

 

ww“

 

 

 
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Fill in this information to identify your case

AUVEN we Pak
Debtor a) A\ “4 |g

Debtor 2

 

(Spouse If filing) First Name ‘< Name
United States Bankruptcy Court for Me District of hb rida

Case nastier () Check if this is an

amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 42/45
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct

information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

 

No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.

1. Bie have any executory contracts or unexpired leases?
Q) Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/8).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

2.1

 

Name

 

Number Street

 

City State ZIP Code

2.2

 

Name

 

Number Street

 

a: ee
2.3

 

 

Number Street

 

fa Ci tee State ZIP Code
2.4

 

Name

 

Number Street

 

Sty State ZIP Code

 

Name

 

Number Street

 

City Stata 7IP Code
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Fill in this information to identify your case

ower _ KUEN

First

Debtor 2

(Spouse, if fling) First Name \ Chord
United States Bankruptcy Court for wld { Ps of 0 Fi Qh

Case number
(if known)

 

 

 

Q) Check if this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 1215

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,

and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 

1. Do have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)

Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
he Califomia, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Go to line 3.
Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

OI No

Q) Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

 

Name of your spouse, former spouse, or legal equivalent

 

Number Street

 

City State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

 

 

 

 

 

 

 

 

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

Check all schedules that apply:
U1

er rh QO Schedule D, line
QO) Schedule E/F, line

Numer poet Q) Schedule G, line

City State ZIP Code

nana CJ Schedule D, line
O) Schedule E/F, line

Nurnber meee QO) Schedule G, line

City : State ZIP Code

Name QO Schedule D,line_
QO) Schedule E/F, line

Number Street

QO) Schedule G, line

 

City State ZIP Code
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oh Court for the: ade District of Flor ida

Case number Check if this is:

 

(if known)

 

C) An amended filing
C) A supplement showing postpetition chapter 13
income as of the following date:

Official Form 106 MM] DDT YWYY¥
Schedule I: Your Income 12115

Be as complete and accurate as possible. lf two married people are filing together (Debtor 1 and Debtor 2}, both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
if you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 

 

ite Describe Employment

1. Fill in your employment

 

information. Debtor 1 Debtor OF Ge pinilimepepens &
If you have more than one job,

attach a separate page with

information about additional Employment status Pemioyed Employed

employers. Not employed Not employed

Include part-time, seasonal, or

catemoyetwa Insurance Insurance

Occupation may include student

or homemaker, if it applies. scsi ace Ladin / Way TRL Kober and hesoc LLC

Employer's address B25 Tamiami (ad E75 Tamian fa
“ute A186 P [te &-OFE

YGnice FE B85 Noch hit 2975
How long employed there? (AS Nes

let! Give Details About Monthly Income

 

 

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
below. If you need more space, attach a separate sheet to this form.

 

For Debtor 1 For Debtor 2 or
not-filing spouse
2. List monthly gross wages, salary, and commissions (before all payroll
deductions). If not paid monthly, calculate what the monthly wage would be. 2. ‘ cD)
3. Estimate and list monthly overtime pay. 3. +g + § ©

 

4. Calculate gross income. Add line 2 + line 3. 4. $200 $ CU)

 

 

 

 

 
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Check if this is:

Q) An amended filing

QA supplement showing postpetition chapter 13

income as of the following date:

Official Form 1061 mibErw
Schedule I: Your Income 4245
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.

if you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 

ES

{4. Fill in your employment

 

| ne hoes barre YP.
employers. ee C) Not employed

include part-time, seasonal, or
| Occupation may include student '
or homemaker, if it applies.
Employer's name (as llce ead

ensovrsstines §— 23S JQ miami Wai!
le AS or

\gnice FL Ages
How long employed there? LYE

Give Details About Monthly Income

 

 

 

 

 

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
| spouse unless you are separated.

If you or your non-filing spouse have more than one emplayer, combine the information for all employers for that person on the fines
below. If you need more space, attach a separate sheet to this form.

ForDebtor? For Debtor 2 or

 

| 2. List monthly gross wages, salary, and commissions (before all payroll
| deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ O $
3. Estimate and list monthly overtime pay. 3 +$§ ( ) +$

i>
r

 

la Calculate gross income. Add line 2 + line 3. 41 $ U $

 

 

 

 

 
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. Sense Gfater

Middle Name Last Name

 

Copy line 4 here. > 4.

5. List all payroll deductions:

5a, Tax, Medicare, and Social Security deductions
5b. Mandatory contributions for retirement plans
5c. Voluntary contributions for retirement plans
5d. Required repayments of retirement fund loans
5e. Insurance

5f. Domestic support obligations

5g. Union dues

5h. Other deductions. Specify:

 

eo $$ APFRR ES

6. Add the payroll deductions. Add lines 5a + 5b + Sc + 5d + 5e +5f + 5g + Sh.

7. Calculate total monthly take-home pay. Subtract line 6 from line 4.

™

8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. 8a.

8b. Interest and dividends 8b.

8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement.

8d. Unemployment compensation

8e. Social Security

8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) ot housing subsidies.

ee

 

 

Specify: tf.
8g. Pension or retirement income 8g.
8h. Other monthly income. Specify: 8h.

9. Add all other income. Add lines 8a + 8b + 8c + 8d + Be + 8f +8g + Bh. 9.

10. Calculate monthly income. Add line 7 + line 9.
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10.

11. State all other regular contributions to the expenses that you list in Schedule J.

Case number (i known),

For Debtor 1

5 2690

O

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Fj

FH

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th SHREK

&

Clo

For Debtor or

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eC) +s O
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; © /|.2e

 

 

 

 

 

a

 

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

w+ §$ 6

Specify:

 

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 1

13.0 you expect an increase or decrease within the year after you file this form?
No.

N

 

ke

0

o|

monthly income 4

 

 

Yes. Explain:

 

 

 

 

 
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Fill in this informatie

   

 

 

 

 

Sa a Sierra Check if this is:

Fifst Name:
Debtor 2 ;
(Spouse, if fing) First Nome Middle Name laa C) An amended filing
Middle ate Florida C) A supplement showing postpetition chapter 13
AEN See Seely Smet fore Gietict of expenses as of the following date:
Case number MM 7 DD/ YYYY
(If known)

 

Official Form 106J
Schedule J: Your Expenses

 

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number

(if known). Answer every question.

EE vee crive Your Household

 

4: wf. a joint case?
No. Go to line 2.
Q) Yes. Does Debtor 2 live in a separate household?

QO No
() Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? ‘pre

 

 

 

 

 

 

 

 

 

Dependent’s relationship to Dependent’s Does dependent live

Do not list Debtor 1 and Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?

Debtor 2. each dependent... =

Do not state the dependents’ q No

names. Yes
OQ) No
QO) ves
Q) No
C) ves
CJ) No
QC) Yes
O) No
QC) Yes

3. Do your expenses include Wo
expenses of people other than

yourself and your dependents? O Yes

‘Fue+ Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the

applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 1061.)

4, The rental or home ownership expenses for your residence. Include first mortgage payments and
any rent for the ground or lot.

If not included in line 4:

4a. Real estate taxes

4b. Property, homeowner's, or renter’s insurance

4c. Home maintenance, repair, and upkeep expenses

4d. Homeowner's association or condominium dues

4.

4b.
4c.

Your expenses

s_ 000

aje)
00

wf ww

A

 
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Debtor 1 2 DP y Case number (it known)

 

 

First Name Middle Nama Last Name
Your expenses
5. Additional mortgage payments for your residence, such as home equity loans 5. i: Se
6. Utilities:
6a. Electricity, heat, natural gas ba = § / é 5 O
6b. Water, sewer, garbage collection 6b.

e
i

6c. Telephone, cell phone, Internet, satellite, and cable services

6d. Other. Specify: a C

 

7. Food and housekeeping supplies 7:
8. Childcare and children's education costs 8. $ C2
9. Clothing, laundry, and dry cleaning 9. $ ta

10. Personal care products and services 10. «= §. A
11. Medical and dental expenses Ww. © «©6§

12. Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments. 12.

13. Entertainment, clubs, recreation, newspapers, magazines, and books am § / O oO
14. Charitable contributions and religious donations 4. §$ H
15. Insurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

45a. Life insurance 15a & O

Sn. emis inion aoe
15c. Vehicle insurance 1sc.  § 5
15d. Other insurance. Specify: 15d. §
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20. O
Specify: 1. §&

17. Instaliment or lease payments:
17a, Car payments for Vehicle 1 iva $
17b, Car payments for Vehicle 2 17. §
17c. Other. Specify: 17c. §$
17d. Other. Specify; 17d. S$ O =

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule I, Your Income (Official Form 106!). 18 og

19. Other payments you make to support others who do not live with you. 2
Specify: 19 §$

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule |: Your income.

 

 

 

 

20a. Mortgages on other property

20b, Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

PR RR F

20e. Homeowner's association or condominium dues

 

 
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Debtor 1 (Z é Case number (if nown),

First Middla Name Last Name

21. Other. Specify:

 

22. Calculate your monthly expenses.
22a, Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2
22c. Add line 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule |.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
payment to increase or decrease because of a modification to the terms of your mortgage?

No. - ws
Yes. | Explain here:

21.

BB SB

23a.

23b.

23c.

 

s_ X{ D6

AIKO

 

Tee

 

 
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Debtor 2

 

(Spouse, if fling) First Name , Pe Last Name
United States Bankruptcy Court for elt District of Foca

Case number
(if known)

 

CY Check if this is an

 

 

amended filing

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 42115

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

--

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

 

lo
Yes. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 119).

Under penaity of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

x x

Signature of Debtor 1 Signature of Debtor 2

Date OR / Date

MMf DD / fYYYY MM/ DD / YYYY

 
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Fill in th

 

 

(Spouse, if fling) Fist Name

United States Bankruptcy Court for the:

aes caine Q) Check if this is an
{If knawn) amended filing

 

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 ix

If you are an individual filing under chapter 7, you must fill out this form if:

® creditors have claims secured by your property, or

@ you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

 

 

Ea List Your Creditors Who Have Secured Claims

 

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the

information below.
Identify the creditor and the property that is collateral What do you intend te do with the property that Did you claim the praperty
secures a debt? as exempt on Schedule C?
Creditor's rhe
cane” SCI Zee1 LOANED serene ve rope O wo
OQ) Retain the property and redeem it. C) Yes

Description of A a ’ i
souina ww KE dente L oy ~Z ae ee into a

Venice LAS rie i marian?

= s () surrender the property. DINo
CD Retain the property and redeem it. O) Yes

Description of E :

property () Retain the property and enter into a

securing debt: Reaffirmation Agreement.

C) Retain the property and [explain]:

 

 

 

 

en C1 Surrender the property. OINs
: Q) Retain the property and redeem it. OC) Yes
Description of ; :
CQ) Retain the property and enter into a
property ‘
securing debt: Reaffirmation Agreement.
QO) Retain the property and [explain]:
= Q) Surrender the property. CJ No
; (C) Retain the property and redeem it. 0) Yes
Description of :
property QO) Retain the Property and enter into a
securing debt: Reaffirmation Agreement.

CD Retain the property and [explain]:
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a KUNE PAL are

First Nage *

PERE ist vour unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

 

 

 

 

 

Describe your unexpired personal property leases Will the lease be assumed?

Lessor’s name: QI No
QO Yes

Description of leased

property:

Lessor's name: O)No

¥

Description of leased ate

property:

Lessor's name: ONo

Description of leased QO) Yes

property:

Lessor's name: ONo
O Yes

Description of leased

property:

Lessor's name: CINo
QO Yes

Description of leased

property:

Lessor’s name: O No

Description of leased Oves

property:

Lessor’s name: ONo
() Yes

Description of leased
property:

 

a -.-

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and any

personal pro that is subject to an unexpired lease.
«Win fpbe

7
Signature of Debtor 1 Signature of Debtor 2

Date DR, / Date

 

  

MM/ BO/ YYYY
